UNITED sTaTES BaNKRUPTcy court - FILEB
WESTERN DISTRICT OF WASHINGTON aipeep 14 aM 32

 

 

 

 

 

 

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Inre: Case No. 18-13383- ma ATOR. ta
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Debtor(s).
I, ] a ] Provi vii cf ¥ 2
A. Does this plan contain, any nonstandard provisions (check one)?
Yes
No .
B. Does this plan limit the amount of a secured claim based on a valuation of the collateral for the claim
(check one)?
Yes
No
C. Does this plan avoid a security interest or lien (check one)?
Yes
No

If the Debtor has either not indicated “yes” in the applicable section above or made no selection, any nonstandard
provision or language in this plan purporting to limit the amount of a secured claim based on a valuation of the
collateral or to avoid a security interest or lien is void. Even if the Debtor indicated “no” in Section 1.B or Section
1.C, the Debtor may seek to limit the amount of a secured claim based on a valuation of the collateral for the claim
or avoid 2 security interest or lien through a motion or an adversary proceeding.

 

The Debtor is (check one):
y¥_ a below median income debtor with a 36 month applicable commitment period.
an above median income debtor with a 60 month applicable commitment period.

 

The plan’s length shall not be less than the Debtor’s applicable commitment period unless the plan either provides
for payment in full of allowed unsecured claims over a shorter period or is modified post-confirmation. If the
Debtor is below median income, then the plan’s length shall automatically be extended up to 60 months after the
first payment is due if necessary to complete the plan.

In, nP
No later than 30 days after the order for relief, the Debtor shali commence making payments to the Trustee as
follows:
A. AMOUNT: $ 3,000.00
B. FREQUENCY (check one):
wa Monthiy
___ Twice per month
___Every two weeks
___ Weekly
C. TAX REFUNDS: The Debtor (check one):
of commits all tax refunds to funding the plan. Committed refunds shall be paid in addition to the plan
payment amount stated above.
___does not commit all tax refinds to funding the plan.
If no selection is made, tax refunds are committed.
D. PAYMENTS: Plan payments shall be deducted from the Debtor's wages unless otherwise agreed to
by the Trustee or ordered by the Court.

E. OTHER: | will obtain a reverse mortgage within the next 60 days and pay off 100% of my debts.
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Upon confirmation of the a the Trustee shall disburse funds received in the following order and creditors
shall apply them accordingly, provided that disbursements for domestic support obligations and federal taxes
shall be applied according to applicable non-bankruptcy law:
A. ADMINISTRATIVE EXPENSES:
1. Trustee: The percentage set pursuant to 28 U.S.C. § 586(e).
2. Other administrative expenses: As allowed pursuant to 11 U.S.C. §§ 507(a){2) or 707(b).
3. The Debtor's Attorney's Fees: Pre-confirmation attorney’s fees and/or costs and expenses are
estimated to be $ .3 was paid prior to filing.
Approved attomey compensation shall be paid as follows (check one):
____ Prior to all creditors.
_ ____ Monthly payments off
___ All remaining funds “available after designated monthly payments to the following
creditors: 0.00.
Other: :
If no selection is made, approved compensation will be paid after the monthly payments specified in
Sections IV.B and IV.C,

 

B. CURRENT DOMESTIC SUPPORT OBLIGATIONS:

Creditor Monthly Amount
ee $
$

 

 

C. SECURED CLAIMS: Only creditors holding allowed secured claims specified below or provided in
Section X will receive payment from the Trustee. Unless ranked otherwise, payments to secured
creditors will be disbursed at the same level. Secured creditors shall retain their liens until the earlier of
payment of the underlying debt, determined under nonbankruptcy law, or discharge under 1] U.S.C. §
1328. Secured creditors shail not assess any late charges, provided payments from the plan to the
secured creditor are current, subject to the creditor's rights under state law if the case is dismissed.

The interest rates in the plan control except that (a) a lower interest rate included in a creditor’s proof of
claim shall control; and (6) the interest rate included in a creditor’s proof of claim for a claim secured by
a mortgage or deed of trust on real property shall control, unless otherwise provided in Section X or
ordered following an objection to a proof of claim or in an adversary proceeding. If the interest rate is
left blank, the interest rate shall be 12% except that the interest rate for arrearages on claims secured by a
mortgage or deed of trust on real property shall be 8%.

For claims secured by personal property, the monthly payment amounts in the plan control.

For claims secured by real property, the monthly payment amounts in the creditor’s proof of claim and
notice of payment change control unless otherwise provided in Section X.

If overall plan payments are sufficient, the Trustee may increase or decrease post-petition installments for
ongoing mortgage payments, homeowmer’s dues and/or real property tax holding accounts based on
changes in interest rates, escrow amounts, dues and/or property taxes.

 

 

 

 

1. j Non- wed Po ion Tax Holding Accounts
Only by Seay Interest in the Debtor’s Principal Residence {Interest included in payments at contract
rate, if applicable):

Ongoing Payments:
Rank Mon Payment Creditor Collateral

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— tL
—— tE___
_.— 3
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Cure Payments:

 

 

 

 

 

 

Monthly Arrears tobe Interest
Rank Paument Creditor Collateral £ ‘ured Rate

3 $ __%

$ $ __

$ $ __*

 

 

 

 

 

 

 

 

 

 

 

 

 

Ongoing Payments:
Monthly Interest
Rank Payment Creditor Collateral Rate
3 %
$ __%
§ _ %
Cure Payments
Monthly Arrearstobe Interest
Rank Payment Creditor Collateral Cured Rate
$ —
$ $ __%
$ $ __ %
3.

 

a. 910 Collateral:

The Trustee shall pay the contract balance stated in the allowed proof of claim for a purchase-money security
interest in any motor vehicle acquired for the personal use of the Debtor within 910 days preceding the filing
date of the petition or in other personal property acquired within one year preceding the filing date of the
petition as specified below. The Debtor stipulates that pre-confirmation adequate protection payments shall
be paid by the Trustee in the amounts stated as the “Pre-Confirmation Adequate Protection Monthly
Payment” or, if blank, in the amounts stated as the “Monthly Payment” as specified below after the creditor
files a proof of claim. .

 

 

 

 

 

 

Pre-Confirmation
Monthly Adequate Protection Interest
Rank Faviacut Creditor Collateral Monthly Payment Rats
$ __
$ $ __%
§ $ _ %
$ $ __%

 

 

b. Non-910 Collateral:
The Trustee shail pay the value of collateral stated in the proof of claim, unless otherwise provided in Section
X of ordered following a timely objection to a proof of claim or in an adversary proceeding, for a security
interest in personal property which is non-910 collateral. The Debtor stipulates that pre-confirmation _
adequate protection payments shall be paid by the Trustee in the amounts stated as the “Pre-Confirmation
Adequate Protection Monthly Payment” or, if blank, in the amounts stated as the “Monthly Payment” as
specified below after the creditor files a proof of claim.

Debtor's Pre-Confirmation
Monthly Value of Adequate Protection Interest
Rank Payment Creditor Collateral Collateral Monthly Payment Rate
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D. PRIORITY CLAIMS: Payment in full, on a pro rata basis, of filed and allowed claims entitled to
priority in the order stated in 11 U.8.C. § 507(a}.

E. NONPRIORITY UNSECURED CLAIMS: No funds shall be paid to nonpriority unsecured creditors
until all secured, administrative and priority unsecured creditors are paid in full, provided that no claim
shall be paid before it is due. The Trustee shall pay filed and allowed nonpriority unsecured claims as
follows (check one):

____ 100%

___ At least $

The Trustee shall pay the following specially classified nonpriority unsecured claims prior to other

nonpriority unsecured claims:
Amount of, Fercentare Reason for Special

 

Rank Creditor Claim Tobe Paid Classification
a $
_ —_— $ %

 

 

The etme shall be paid directly by the Debtor according to the ferms of the contract or support or
withholding order, and shall receive no payments from the Trustee. (Payment stated shall not bind any party.)

A. DIRECT PAYMENT OF DOMESTIC SUPPORT OBLIGATIONS:

 

Creditor
3
$
$
B. OTHER DIRECT PAYMENTS:
Creditor Nature of Debt Amount of Claim Monthly Payment
ee —_— $e $
$ $
$ §

VI. To :

The secured property described below will be surrendered to the following named creditors on confirmation.
The Debtor requests that upon confirmation, each creditor (including successors and assigns) to which the
Debtor is surrendering property pursuant to this section be granted relief from the stays of 11 U.S.C. 9§
362(a) and 1301{a) to enforce its security interest against the property including taking possession and sale.

Creditor Property to be Surrendered

VH. Executory Contracts and Leases:

The Debtor will assume or relect executory contracts or unexpired leases as specified below. Assumption will
be by separate motion and order, and any cure and/or continuing payments will be paid directly by the Debtor
under Section V, unless otherwise specified in the plan. Any executory contract or unexpired lease not
assumed pursuant to 11 U.3.C § 365(d) is rejected. If rejected, upon confirmation the creditor is granted relief
from the stays of 11 U.S.C. §§ 362(a} and 1301(a) with respect to the property which is the subject of the
rejected contract or lease, and any allowed unsecured claim for damages shail be paid under Section IV.E.

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Contract/Lease Assumed or Rejected

VIL. Property of the Estate:

Property of the estate is defined in 11 U.S.C. § 1306(a). Unless otherwise ordered by the Court, property of
the estate in possession of the Debtor on the petition date shail vest in the Debtor upon confirmation.
However, the Debtor shall not fease, sell, encumber, transfer or otherwise dispose of any interest in real
property or personal property without the Court’s prior approval, except that the Debtor may dispose of
unencumbered personal property with a value of $10,000 or Jess without the Court’s approval. Property
(including, but not limited to, bonuses, inheritances, tax refunds or any claim) acquired by the Debtor post-
petition shall vest in the Trustee and be property of the estate. The Debtor shall promptly notify the Trustee if
the Debtor becomes entitled to receive a distribution of money or other property (including, but not limited to,
bonuses, inheritances, tax refunds or any claim) with a value in excess of $2,500, unless Section X
specifically provides for the Debtor to retain the money or property.

    

       

  

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IX. quida at ] 5 132
§ . To obtain a discharge, the Debtor must pay the liquidation

 

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The liquidation value of the estate is
value or the total of allowed priority and nonpriority unsecured claims, whichever is less. Under 11 U.S.C.
85 1325(aX(4)} and 726{a}(5), interest on allowed unsecured claims under Section IV.D and IV_E shall be paid
at the rate of % per annum from the petition date (no interest shail be paid if left blank).

Xx. Nonstandard Provisions:

All nonstandard provisions of this plan are set forth in this section and separately numbered. Any
nonstandard provision placed elsewhere in this plan is void. Any modifications or omissions to the form pian
not set forth in this section are void.

By filing this plan, the attorney for the Debtor(s) or the Debtor(s) if not represented by an attorney certify that
the wording and order of the provisions in this plan are identical to those contained in Local Bankruptcy
Form 13-4, other than any nonstandard provisions included in Section X.

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Attorney for Debtor(s)

09/43/2018 Jack CG. Cramer, Jr. 9/13/2018
Date DEBTOR Date
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